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CURRICULUM VITAE

Kevin P. Hoyland

Federal Bureau of Investigation
Cellular Analysis Survey Team (C.A.S.T.)}

Detailed to: Denver Division — Fert Collins Resident Agency
2915 Rocky Mountain Ave, Suite 210
Loveland, CO 80338

 

PROFESSIONAL EXPERIENCE

 

Special Agent (2012 — Present)
Federal Bureau of Investigation
Loveland, CO (Fort Collins Resident Agency (“RA”) — Denver Division)

2019 — Present: FBIC.AS.T. (Cellular Analysis Survey Team) National Asset

National Assets are FBI Special Agents whose primary role is to provide cellular records analysis and technological
assistance to Local, State, and Federal Law Enforcement; including mapping, analytical reports, tracking of cellular
devices, and presenting expert testimony in court. National Assets are full-time members of the C.A.S.T. Unit which
is based out of FBI Headquarters in Washington D.C. and are detailed to various FBI divisions across the country.
National Assets do not carry a separate investigative case load, but focus fulltime on CAST duties. Presently, there
are approximately 15 Special Agents in a National Asset role.

2016 — 2019: FBIC.A.S.T. (Cellular Analysis Survey Team) Field Asset

Field Assets perform C.A.S.T. duties as an ancillary duty to their primary investigative case work. As a Field Asset,
| personally conducted tracking missions, provided cellular records analysis, and technological assistance to locate
cell phones used by fugitives, witnesses, or victims of crimes. There are roughly 45 Field Assets within various
divisions across the country.

 

2016 — 2019: Principal Relief supervisory Special Agent (Squad CR-6)

Served as the principal relief supervisor of a squad consisting of 11 agents located in Fort Collins, Glenwood
Springs, and Grand Junction, CO. The squad investigated nearly all types of Federal violations, including both
criminal and national security matters. The Supervisory role included managing the collection, evaluation, and
dissemination of information emanating from ongoing investigations when the primary supervisor was unavailable.

Overall Special Agent Responsibilities: Investigate felony offenses for various criminal elements to include drug
cartels, child pornography distributors, bank robbers, child kidnappers, persons involved in white collar fraud, cyber
based crimes, and crimes with an interstate nexus; Additionally, investigate national security threats related to
terrorism and counter-intelligence, originating both damestically and abroad; Prepare and execute search warrants
and arrest warrants; Operate confidential human sources; Prepare reports of investigations for presentment to
Grand Jury; Conduct pattern analysis; Collect and preserve criminal evidence; Testify in state and federal court;
Conduct interviews; and Liaison with local, state, and federal law enforcement agencies.

US Finance Manager (June, 2007 — April, 2012)
Dunkin’ Brands
Canton, Massachusetts

Responsibilities included: Oversaw domestic finance team responsible for maintaining financial health of a publicly
traded company through working with Franchisee’s to improve profitability in restaurants across the United States.

EDUCATION

 

 

BS — Finance — University of Illinois - Chicaga (2004), Chicago, Illinois
MBA — Boston University (2007), Boston, Massachusetts

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Certified Public Accountant (CPA) —- New Hampshire (2012)

RELEVANT PROFESSIONAL TRAINING & INSTRUCTION

 

Basic C.A.3.T. Training — 2013 (24 Hours)
- Introduction to cellular technology theory and analysis of historical cellular records. Prerequisite for
Advanced Project Pin Point

Advanced Project Pin Point — 2014 (40 Hours)
- Taught analytical processes and critical thinking skills associated with historical cell site analysis and the
creation of reporting designed for court room audiences

RF Technology Protocols Certification — 2014 (72 Hours)
- Attended multiple classes with detailed study in GSM, iDEN, CDMA, UMTS, and LTE cellular protocols
and the implimentation of cell phone tracking techinques

C.AS8.T. Certification Training and Network Theory, Nashville, TN/Los Angeles, CA - 2016 (160 Hours)
- GSM, CDMA, Basic IDEN, UMTS, LTE, Racio Frequency Theory
- In-person training from legal compliance and engineers from the follawing cellular telephone providers: ,
AT&T, Sprint, T-Mobile, Verizon, and US Cellular
- JDSU/Agilent Wireless Optimization Software certified
- Expert witness training
- Practical exercises and mock trial
- Certified as an expert in cellular record analysis

Annual C.A.3.T. Recertification, Multisle Locations — 2017-2019 (120 Hours)
- Presentations and trainings from the four major telecom carriers (AT&T, Sprint, T-Mobile, and Verizon)
- Training specific to technological improvements anticipated in the telecom industry
- Profeciency exams for equipment and techniques utilized
- Review of current and anticipated Federal case law
- Case briefings from across the country

TEACHING EXPERIENCE

 

Led formalized instruction of C.A.S.T. classes to over 300 local, state, and federal law enforcement officers in
multiple states across the country, as well as provided numerous informal trainings to hundreds of law enforcement
officers and members of state legal counsel representatives throughout Colorado.

EXPERT TESTIMONY EXPERIENCE

 

 

State Court:

CO — Adams, Arapahoe, Boulder, Broomfield, El Paso, Teller, and Weld Counties
NE — Douglas County

WY — Natrona County

Federal Court: N/A

 

 

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